Case 1:23-cv-12693-TLL-PTM ECF No. 11, PageID.203 Filed 11/27/23 Page 1 of 4




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          NORTHERN DIVISION


SHARON ROSE ZLATKIN, et al.,                          Case No. 1:23-cv-12693

             Plaintiffs,                              Thomas L. Ludington
                                                      United States District Judge
v.
                                                      Patricia T. Morris
BUTMAN, TOWNSHIP OF, et al.,                          United States Magistrate Judge

             Defendants.
                                          /


     ORDER DENYING PLAINTIFF PEGGY ZLATKIN’S MOTION FOR
     MARSHAL SERVICE ON REMAINING DEFENDANTS (ECF No. 7)

      Now before the Court is Plaintiff Peggy Zlatkin’s Motion for Marshal Service

on Remaining Defendants. (ECF No. 7.) Since 1892, federal courts have possessed

statutory power to authorize commencement of civil actions in forma pauperis (IFP).

See Bruce v. Samuels, 136 S. Ct. 627, 629 (2016). That power, presently codified at

28 U.S.C. § 1915, allows indigent persons “to bring suit without pre-paying court

fees, thus ensuring they have some meaningful access to the federal courts.” Pointer

v. Wilkinson, 502 F.3d 369, 372 (6th Cir. 2007) (citation omitted). An indigent

litigant seeking to proceed IFP must file an affidavit that includes a statement of that

person’s assets and his inability to pay fees. See 28 U.S.C. § 1915(a)(1).
Case 1:23-cv-12693-TLL-PTM ECF No. 11, PageID.204 Filed 11/27/23 Page 2 of 4




      In Adkins v. E.I. DuPont de Nemours, Inc., 335 U.S. 331, 339 (1948), the

United States Supreme Court held that one need not be “absolutely destitute” to

enjoy the benefit of proceeding IFP. See also Lee v. McDonald’s Corp., 231 F.3d

456, 459 (8th Cir. 2000). An affidavit to proceed IFP is sufficient if it states that one

cannot, because of his or her poverty, afford to pay for costs of litigation and still

provide herself and her family the necessities of life. Adkins, 335 U.S. at 339. “[T]he

question is whether the court costs can be paid without undue hardship.” Foster v.

Cuyahoga Dep’t of Health & Human Servs., 21 F. App’x 239, 240 (6th Cir. 2001).

Proceeding IFP “is a privilege, not a right, and permission to so proceed is committed

to the sound discretion of the court.” Camp v. Oliver, 798 F.2d 434, 437 (11th Cir.

1986).

      In determining IFP eligibility, “courts will generally look to whether the

person is employed, the person’s annual salary, and any other property or assets the

person may possess.” Schneller v. Prospect Park Nursing & Rehab. Ctr., No. 06-

545, 2006 WL 1030284, at *1 (E.D. Pa. Apr. 18, 2006); see also Bryant v. United

States, 618 F. App’x 683, 685 (Fed. Cir. 2015) (upholding a denial of IFP status due

to pension income). Assets may include equity in real estate and automobiles. United

States v. Valdez, 300 F. Supp. 2d 82, 84 (D. D. C. 2004). In addition, courts “have

consistently considered not only an IFP applicant’s personal income, but also his or

her other financial resources, including the resources that could be made available
Case 1:23-cv-12693-TLL-PTM ECF No. 11, PageID.205 Filed 11/27/23 Page 3 of 4




from the applicant’s spouse, or other family members.” Helland v. St. Mary’s Duluth

Clinic Health System, No. 10-31, 2010 WL 502781, at *1, n. 1 (D. Minn. Feb. 5,

2010); accord Shahin v. Sec’y of Delaware, 532 F. App’x 123, 123-124 (3rd Cir.

2013) (holding district court did not abuse its discretion in requiring plaintiff to

disclose spouse’s assets); Fridman v. City of New York, 195 F. Supp. 2d 534, 537

(S.D.N.Y. 2002) (courts consider “the resources that the applicant has or ‘can get’

from those who ordinarily provide the applicant with the necessities of life,’ such as

‘from a spouse, parent, adult sibling, or other next friend.’”) (citation omitted).

      Here, Plaintiffs paid the $402 filing fee in full at time of filing the Complaint.

(ECF No. 1.) While Plaintiff’s motion indicates both her and co-plaintiff are now

“requesting the status in forma pauperis,” the motion fails to provide enough

information to determine whether Plaintiff merits IFP status. See Lister v. Dep’t of

Treasury, 408 F.3d 1309, 1313 (10th Cir. 2005) (“We conclude that the district court

did not abuse its discretion in denying IFP status after [the Plaintiff], having been

specifically instructed on how to establish indigent status, failed to fill out the proper

forms or to otherwise provide the district court with the requisite information.”).

Where, as here, Plaintiff indicates that she “paid from her social security to file the

complaint and mail out to defendants certified mail with return receipts” (ECF No.

7, PageID.111.) Plaintiff must provide further explanation of her finances so that this

Court may properly decide whether Plaintiff is indigent for purposes of IFP status.
Case 1:23-cv-12693-TLL-PTM ECF No. 11, PageID.206 Filed 11/27/23 Page 4 of 4




For these reasons, the Motion for Marshal Service on Remaining Defendants (ECF

No. 7) is DENIED. While the Court may order the U.S. Marshals Service to serve

the defendants without pauper status, Plaintiff would be responsible for payment of

the fees incurred which would negate the purpose of her request.

IT IS ORDERED.

Date: November 27, 2023                     S/patricia t. morris
                                            Patricia T. Morris
                                            United States Magistrate Judge
